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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION

   TAMMY HILL-McFADDEN,

                        Plaintiff,
   vs.                                                     Case No. 3:06-cv-466-J-32HTS

   BANK OF AMERICA, N.A., etc.,

                        Defendant.


                                             ORDER1

          This case is before the Court on Defendant’s Motion for Judgment on the Pleadings

   as to Count I, which alternatively requests a more definite statement (Doc. 28), to which

   plaintiff filed a response with a motion to strike (Doc. 29), and defendant responded (Doc.

   30). Upon review of these filings, relevant case law, plaintiff’s second amended complaint

   (Doc. 22) and defendant’s answer thereto (Doc. 24), the Court finds defendant’s motion is

   due to be denied. Having said that, however, the Court does not intend its decision to be

   construed as a ruling on the appropriate scope of discovery. Defendant is therefore free (as

   it always was) to raise issues with the scope or breadth of plaintiff’s discovery requests

   through appropriate discovery motion practice, brought after good faith attempts at resolving

   the issues with plaintiff pursuant to Local Rule 3.01(g).




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      Under the E-Government Act of 2002, this is a written opinion and therefore is available
   electronically. However, it has been entered only to decide the motion or matter addressed
   herein and is not intended for official publication or to serve as precedent.
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         Accordingly, it is hereby

         ORDERED:

         1.     Defendant’s Motion for Judgment on the Pleadings (Doc. 28) is DENIED.

         2.     Plaintiff’s Motion to Strike (Doc. 29) is DENIED.

         DONE AND ORDERED at Jacksonville, Florida this 7th day of March, 2007.




   s.
   Copies:

   counsel of record




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